         Case 1:17-cr-10092-NMG Document 295 Filed 05/23/18 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                  )
                                          )
v.                                        )         Crim. No. 17-10092-NMG
                                          )
GARY P. DECICCO                           )
                                          )

                 UNITED STATES’ SECOND AMENDED WITNESS LIST

       The United States respectfully submits this updated list of witnesses it currently intends

to call in its case in chief. The government reserves the right to supplement or modify this list

from time to time, with reasonable notice to the defendant.

Name                                Address                           Counsel
Pamela Avedisian                    Nahant, MA
Philip Baldi                        Winthrop, MA                      George Vien, Esq.
Thomas Barry                        United States Attorney’s
                                    Office
John Cinotti
Scott Davis                         Saugus, MA
Linda DeCicco                       Nahant, MA
Lisa Laurano                        Nahant, MA
Victoria Laurano                    Nahant, MA
John Lloyd                          Winthrop, MA                      Edward Principe, Esq.
James Lundrigan                     Lynn, MA
Medi Mirnasari                      Nahant, MA
Detective                           Saugus Police Department
Frank J. Morello
Jeffrey Prime                       Nahant, MA                        Jane Peachy, Esq.
Officer Robert Stanley              Saugus Police Department
David Witham                        Marblehead, MA
Detective Matthew Zichella          Saugus Police Department
IRS Court Witness
Keeper of the Records
McMahon and Associates, P.C.
Keeper of the Records
Verizon Wireless
Keeper of Records
T-Mobile
Keeper of Records
Comcast
         Case 1:17-cr-10092-NMG Document 295 Filed 05/23/18 Page 2 of 2



Name                                 Address                           Counsel
Keeper of Records
New Global Telecom
Keeper of Records
Level 3

                                               Respectfully submitted,

                                               ANDREW E. LELLING
                                               United States Attorney

                                      By:      /s/Kristina E. Barclay
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                                               ROBERT E. RICHARDSON
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Dated: May 23, 208


                                      Certificate of Service

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                      /s/Kristina E. Barclay
                                                      KRISTINA BARCLAY
                                                      Assistant U.S. Attorney
Date: May 23, 2018




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